       Case 4:18-cr-00014-BMM Document 2 Filed 02/07/18 Page 1 of 4



JEFFREY K. STARNES                                                  FILED
Assistant U.S. Attorney
U.S. Attorney's Office
                                                                      FEB 072018
P.O. Box 3447                                                      Clerk, u.s District Court
                                                                     District Of Montana
Great Falls, MT 59403                                                     Gre"t Falls
119 First Ave. North, Suite 300
Great Falls, MT 59403
Phone: (406) 761-7715
FAX: (406) 453-9973
E-mail:    Jeff.Starnes@usdoj.gov

ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,               CR 18-   14    -GF-   Bmf'f\
                      Plaintiff,         INDICTMENT

          vs.                            AGGRAVATED SEXUAL ABUSE OF
                                         A CHILD (Counts I-II)
                                         Title 18 U.S.C. §§ 1152 and 2241(c)
 STANLEY PATRICK WEBER,                  (penalty: Life imprisonment, $250,000
                                         fine, and five years of supervised
                      Defendant.         release)

                                         ATTEMPTED AGGRAVATED
                                         SEXUAL ABUSE OF A CHILD
                                         (Count III)
                                         Title 18 U.S.C. §§ 1152 and 2241(c)
                                         (penalty: Life imprisonment, $250,000
                                         fine, and five years of supervised
                                         release)

                                         ATTElVIPTED SEXUAL ABUSE OF A
                                         MINOR (Count IV)
                                         Title 18 U.S.C. §§ 1152 and 2243(a)
                                         (penalty: Five years imprisonment,
                                         $250,000 fine, and three years of
                                         su ervised release


                                    1
         Case 4:18-cr-00014-BMM Document 2 Filed 02/07/18 Page 2 of 4



                                               ABUSIVE SEXUAL CONTACT OF A
                                               MINOR (Count V)
                                               Title 18 U.S.C. §§ 1152 and 2244(a)(2)
                                               (Penalty: Three years imprisonment,
                                               $250,000 fine, and two years of
                                               su ervised release

THE GRAND JURy CHARGES:

                                     COUNT I

      That between on or about July 1, 1993 and January 24, 1995 at or near

Browning, within Glacier County, in the State and District of Montana, and within

the exterior boundaries of the Blackfeet Indian Reservation, being Indian Country,

the defendant, STANLEY PATRICK WEBER, knowingly engaged in a sexual act

with R.F.H., an Indian Person, by placing his mouth on R.F.H.'s penis and by

causing R.F.H. to place R.F.H.'s mouth on his penis, and at the time of the sexual

act, R.F.H. had not yet reached twelve years of age, in violation of

18 U.S.C. §§ 1152 and 2241 (c).

                                     COUNT II

      That between on or about July 1, 1993 and January 24, 1995 at or near

Browning, within Glacier County, in the State and District of Montana, and within

the exterior boundaries of the Blackfeet Indian Reservation, being Indian Country,

the defendant, STANLEY PATRICK WEBER, knowingly engaged in a sexual act

with R.F.H., an Indian Person, by intentionally touching R.F.H.'s penis with his

hands and causing R.F.H. to touch his penis with R.F.H.'s hands with an intent to



                                         2
         Case 4:18-cr-00014-BMM Document 2 Filed 02/07/18 Page 3 of 4



abuse, humiliate, harass, degrade, arouse, and gratify the sexual desire of

STANLEY PATRICK WEBER, and, at the time of the sexual contact, R,P,H. had

not yet reached twelve years of age, in violation of 18 U.S.C. §§ 1152 and 2241(c).

                                      COUNT III

      That between on or about July 1, 1993 and January 24, 1995 at or near

Browning, within Glacier County, in the State and District of Montana, and within

the exterior boundaries of the Blackfeet Indian Reservation, being Indian Country,

the defendant, STANLEY PATRI CK WEBER, knowingly attempted to engage in

a sexual act with R,F:H" an Indian Person, by attempting to insert his penis in

R,F ,H. 's anus and by attempting to cause R.F .H, to insert R.F .H. 's penis in his

anus, and at the time of the sexual act, R.F .H. had not yet reached twelve years of

age, in violation of 18 U.S.C. §§ 1152 and 2241(c).

                                      COl.TNT IV

      That between on or about September 15, 1993 and June 30, 1995 at or near

Browning, within Glacier County, in the State and District of Montana, and within

the exterior boundaries of the Blackfeet Indian Reservation, being Indian Country,

the defendant, STANLEY PATRICK WEBER, attempted to knowingly engage in

a sexual act with G.R,C" an Indian Person, by exposing his penis to G,R.C. and

asking G.R.C. to allow him to place his penis in G.R.C. 's mouth, and, at the time

of the offense, G.R.C. had attained the age of 12 but had not yet attained the age of



                                            3
             Case 4:18-cr-00014-BMM Document 2 Filed 02/07/18 Page 4 of 4



     sixteen, and STANLEY PATRICK WEBER was more than four years older than

     G.R.C., in violation of 18 U.S.C. §§ 1152 and 2243(a).

                                         COUNTY

           That between on or about September 15, 1993 and June 30, 1995 at or near

     Browning, within Glacier County, in the State and District of Montana, and within

     the exterior boundaries of the Blackfeet Indian Reservation, being Indian Country,

     the defendant, STANLEY PATRICK WEBER, knowingly engaged in sexual

     contact with G.R.C., an Indian Person, by touching G.R.C.'s penis through the

     clothing with his hand, in violation of 18 U.S.C. §§ 1152 and 2244(a)(2).

           A TRUE BILL.                  Foreperson signature redacted. Original document filed
                                         under seal.




 /~~e
 KURT G. ALME
c'




                                                            Crim. Summons    V
                                                            Warrant,
                                                                        ----
                                                            ~anl
                                                            .,     _--­
                                                                   ..
                                                             \\("~\C\{\~\- &~
                                                             3110 II~ @ 10 ';OOQrn
                                                            3"ucX:;Q..~()S~
                                              4
